                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:13-cr-49-CLC-SKL
 v.                                                   )
                                                      )
 MICHAEL TARPLEY                                      )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count Two of the eight-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count Two, that is, excavating archaeological resources from public lands without

 authority, a Class A misdemeanor in violation of Title 16 U.S.C. §§ 470ee(a); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count Two of the Superseding

 Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and

 (5) Defendant has been released on bond under appropriate conditions of release pending sentencing

 in this matter (Court File No. 134). Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation (Court File No. 134) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count Two of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser included offense of the charge in Count Two,

                that is, excavating archaeological resources from public lands without authority, a




Case 1:13-cr-00049-TRM-SKL           Document 144         Filed 04/13/15     Page 1 of 2      PageID
                                           #: 366
             Class A misdemeanor in violation of Title 16 U.S.C. §§ 470ee(a), is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count Two, that is, excavating archaeological resources from public lands without

             authority, a Class A misdemeanor in violation of Title 16 U.S.C. §§ 470ee(a);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter, which is scheduled to take place on June 11, 2015

             at 9:00 a.m. before the Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:


                                           /s/
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




                                              2


Case 1:13-cr-00049-TRM-SKL       Document 144         Filed 04/13/15     Page 2 of 2      PageID
                                       #: 367
